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     Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                 )
     In re:                                                      )         Chapter 11
                                                                 )
     WINDSTREAM HOLDINGS, INC., et al.,1                         )         Case No. 19-22312 (RDD)
                                                                 )
                                        Debtors.                 )         (Jointly Administered)
                                                                 )

                            AGENDA FOR NOVEMBER 25, 2019 HEARING

     Time and Date of Hearing: November 25, 2019, at 2:00 p.m. (prevailing Eastern Time)

     Location of Hearing:              The Honorable Judge Robert D. Drain
                                       United States Bankruptcy Court for the Southern District of New York
                                       300 Quarropas Street
                                       White Plains, New York 10601
     Copies of Motions:                A copy of each pleading can be viewed on the Court’s website at
                                       http://www.nysb.uscourts.gov and the website of the Debtors’ proposed
                                       notice and claims agent, Kurtzman Carson Consultants LLC, at
                                       http://www.kccllc.net/windstream.      Further information may be
                                       obtained via email at WindstreamInfo@kccllc.com, or by calling toll
                                       free at 877-759-8815, or internationally at 424-236-7262.




 1     The last four digits of Debtor Windstream Holdings, Inc.’s tax identification number are 7717. Due to the large
       number of Debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of
       the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
       complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
       http://www.kccllc.net/windstream. The location of the Debtors’ service address for purposes of these chapter 11
       cases is: 4001 North Rodney Parham Road, Little Rock, Arkansas 72212.
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 I.    CONTESTED MATTER:

       1.      Uniti Arrangement Motion. Debtors’ Motion to Stay Purported Application of the
               Deadline Under Section 365(d)(4) of the Bankruptcy Code to the Uniti
               Arrangement [Docket No. 848].

               Objection Deadline: November 18, 2019, at 4:00 p.m. (prevailing Eastern Time).

               Responses Received:

                      Objection of Uniti to the Debtors’ Motion to Stay [Docket No. 912].

                      Objection of the Ad Hoc Committee of Second Lienholders to the Debtors’
                      Motion to Stay Purported Application of the Deadline Under Section
                      365(d)(4) of the Bankruptcy Code to the Uniti Arrangement
                      [Docket No. 1217].

                      Limited Objection of UMB Bank, National Association and U.S. Bank
                      National Association, as Indenture Trustees, to Debtors’ Motion to Stay
                      Purported Application of the Deadline Under Section 365(d)(4) of the
                      Bankruptcy Code to the Uniti Arrangement [Docket No. 1219].

                      Statement of the Official Committee of Unsecured Creditors Regarding the
                      Debtors’ Motion to Stay Purported Application of the Deadline Under
                      Section 365(d)(4) of the Bankruptcy Code to the Uniti Arrangement
                      [Docket No. 1220].

               Related Documents:

                      Stipulation and Agreed Order to Extend the Deadline Under Section
                      365(d)(4) of the Bankruptcy Code as to the Uniti Master Lease [Docket
                      No. 965].

                      Notice of Adjournment of Hearing on Debtors’ Motion to Stay Purported
                      Application of the Deadline Under Section 365(d)(4) of the Bankruptcy
                      Code to the Uniti Arrangement [Docket No. 969].

                      Notice of Hearing on Debtors’ Motion to Stay Purported Application of the
                      Deadline under Section 365(d)(4) of the Bankruptcy Code to the Uniti
                      Arrangement [Docket No. 1189].

                      Notice of Adjournment of Hearing on Debtors’ Motion to Stay Purported
                      Application of the Deadline Under Section 365(d)(4) of the Bankruptcy
                      Code to the Uniti Arrangement [Docket No. 1205].

               Status: This matter is going forward.




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 II.   CONTINUED MATTERS:

       2.      Indenture Trustees’ Motion. Motion of UMB Bank, National Association and
               U.S. Bank National Association, as Indenture Trustees, (I) to Strike the Uniti
               Master Lease from the Debtors’ Schedule G and (II) to Modify the Cash
               Management Order [Docket No. 728].

               Objection Deadline: December 11, 2019, at 4:00 p.m. (prevailing Eastern Time).

               Responses Received:

                             Debtors’ Preliminary Objection to the Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Cash Management
                             Order [Docket No. 746].

                             Statement of the Ad Hoc Committee of Second Lien Noteholders in
                             Response to the Motion of UMB Bank, National Association and
                             U.S. Bank National Association, as Indenture Trustees, (I) to Strike
                             the Uniti Master Lease from the Debtors’ Schedule G and (II) to
                             Modify the Cash Management Order [Docket No. 758].

                             First Lien Ad Hoc Group’s Statement in Support of Debtors’
                             Preliminary Objection to the Motion of UMB Bank, National
                             Association and U.S. Bank National Association, as Indenture
                             Trustees, (I) to Strike the Uniti Master Lease from the Debtors’
                             Schedule G and (II) to Modify the Case Management Order
                             [Docket No. 761].

                             Objection of Uniti to Motion of UMB Bank, National Association
                             and U.S. Bank National Association [Docket No. 824].

                             Declaration of Eli J. Vonnegut in Support of Uniti’s Objection to the
                             Motion of UMB Bank, National Association and U.S. Bank
                             National Association [Docket No. 825].

               Related Documents:

                             Memorandum of Law in Support of the Motion to Strike Master
                             Lease from Schedules and Modify Cash Management Order
                             [Docket No. 729].

                             Declaration of Julia M. Winters in Support of Motion to Strike
                             Master Lease from Schedules and Modify Cash Management Order
                             [Docket No. 730].




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                             Letter to Hon. Robert D. Drain from J. Christopher Shore Letter
                             Requesting Telephonic Conference [Docket No. 775].

                             Letter to Court [Docket No. 820].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Cash Management
                             Order [Docket No. 840].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Case Management
                             Order [Docket No. 950].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Case Management
                             Order [Docket No. 1091].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Case Management
                             Order [Docket No. 1158].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Case Management
                             Order [Docket No. 1209].

                             Notice of Adjournment of Hearing on Motion of UMB Bank,
                             National Association and U.S. Bank National Association, as
                             Indenture Trustees, (I) to Strike the Uniti Master Lease from the
                             Debtors’ Schedule G and (II) to Modify the Case Management
                             Order [Docket No. 1225].

               Status: This matter is continued to the December 18, 2019 omnibus hearing.




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       3.      UCC’s Standing Motion. Motion of the Official Committee of Unsecured
               Creditors for (I) Leave, Standing, and Authority to Commence and Prosecute
               Certain Claims and Causes of Action on Behalf of Debtors’ Estates and (II) Consent
               Rights to Settlement [Docket No. 786].

               Objection Deadline: December 11, 2019, at 4:00 p.m. (prevailing Eastern Time).

               Responses Received: None.

               Related Documents:

                             Declaration of Lorenzo Marinuzzi in Support of Motion of the
                             Official Committee of Unsecured Creditors for (I) Leave, Standing,
                             and Authority to Commence and Prosecute Certain Claims and
                             Causes of Action on Behalf of Debtors’ Estates and (II) Consent
                             Rights to Settlement [Docket No. 787].

                             Notice of Adjournment of Hearing on Motion of the Official
                             Committee of Unsecured Creditors for (I) Leave, Standing, and
                             Authority to Commence and Prosecute Certain Claims and Causes
                             of Action on Behalf of Debtors’ Estates and (II) Consent Rights to
                             Settlement [Docket No. 821].

                             Notice of Adjournment of Hearing on Motion of the Official
                             Committee of Unsecured Creditors for (I) Leave, Standing, and
                             Authority to Commence and Prosecute Certain Claims and Causes
                             of Action on Behalf of Debtors’ Estates and (II) Consent Rights to
                             Settlement [Docket No. 919].

                             Notice of Adjournment of Hearing on Motion of the Official
                             Committee of Unsecured Creditors for (I) Leave, Standing, and
                             Authority to Commence and Prosecute Certain Claims and Causes
                             of Action on Behalf of Debtors’ Estates and (II) Consent Rights to
                             Settlement [Docket No. 1032].

                             Notice of Adjournment of Hearing on Motion of the Official
                             Committee of Unsecured Creditors for (I) Leave, Standing, and
                             Authority to Commence and Prosecute Certain Claims and Causes
                             of Action on Behalf of Debtors’ Estates and (II) Consent Rights to
                             Settlement [Docket No. 1148].

                             Notice of Adjournment of Hearing on Motion of the Official
                             Committee of Unsecured Creditors for (I) Leave, Standing, and
                             Authority to Commence and Prosecute Certain Claims and Causes
                             of Action on Behalf of Debtors’ Estates and (II) Consent Rights to
                             Settlement [Docket No. 1208].

               Status: This matter is continued to the December 18, 2019 omnibus hearing.


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 Dated: November 21, 2019         /s/ Stephen E. Hessler
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